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 PEARSON, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )    CASE NO. 5:11CR170 - 7, 10
                  Plaintiff,                         )
                                                     )
                  v.                                 )    JUDGE BENITA Y. PEARSON
                                                     )
 MARSHALL C. WEST (7),                               )
 ANTHONY T. SKIPPER, JR. (10),                       )
                                                     )
                  Defendants.                        )    ORDER

          Defendants Nicholas P. Helfrick and Dwaine J. Traylor are co-defendants in an

 indictment charging eighteen (18) individual defendants. Defendants Helfrick and Traylor are

 both charged in Count 4 of the eight-count indictment.1 Attorney Paul Adamson has been

 retained by Nicholas A. Helfrick and Dwaine J. Traylor, who are joined as defendants in Count 4

 of the within indictment (generically referred to as the “Donahue Marijuana Conspiracy”).

                                                     A.

          Every defendant is entitled to the effective assistance of counsel– that is counsel free of

 conflict. When a trial court becomes aware of a potential conflict of interest, it must pursue the

 matter, even if counsel does not. Judges should strongly recommend to co-defendants that they

 avoid dual representation and should make clear that a court appointed attorney is available to

 represent each defendant or to consult with each defendant concerning dual representation.

          Fed. R. Crim. P. 44(c)(2) provides that:

          The court must promptly inquire about the propriety of joint representation and


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     Helfrick is also charged in Count 1 of the Indictment.
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        must personally advise each defendant of the right to effective assistance of
        counsel, including separate representation. Unless there is good cause to believe
        that no conflict of interest is likely to arise, the court must take appropriate
        measures to protect each defendant’s right to counsel.

        In the case of a jury trial, joint representation presents obvious potential problems for

 defendants represented by a single counsel. Even if an actual conflict of interest does not exist,

 differing quantities/qualities of evidence, and/or the relative strength of the government’s case

 against the individual defendants conceivably could affect - or at least give rise to a perception

 that a jury’s view of the joint clients is somehow linked. The same holds true during pre-trial

 proceedings where one defendant may perceive - at some point after the fact - that either: (1) he

 received a less favorable plea offer because of his counsel’s representation of the co-defendant;

 or (2) he received a less favorable plea deal because of his counsel’s efforts to resolve the

 co-defendant’s case on a more favorable basis.

                                                  B.

        On July 11, 2011 the Court conducted a hearing to determine whether there was a

 potential or actual conflict of interest due to the dual representation of Defendants Helfrick and

 Traylor by retained Attorney Paul Adamson.

        In response to questions from the Court, Attorney Adamson explained that he intended to

 represent both defendants, and did not, at this time, based upon all of the knowledge he had

 gathered about the charges and his clients, perceive an actual or potential conflict of interest. He

 explained that he had discussed the issue of dual representation with both Defendants and spoken

 with counsel for the Government. As a result of these conversations, he had learned nothing that
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    changed his conclusion that his dual representation was free of actual or potential conflict.2

    Attorney Adamson also pledged to remain vigilant for any specter of an actual or potential

    conflict developing.

            After questioning Attorney Adamson and hearing from counsel for the government, the

    Court had separate standby counsel to conduct private conversations with both Defendants

    Helfrick and Traylor. At the conclusion of these private conversations, the Court placed the

    Defendants under oath and questioned them to ascertain their competency and intelligence. In

    response to questions posed by the Court, Defendants Helfrick and Traylor appeared competent

    and intelligent about the Court’s concern regarding Attorney Adamson’s dual representation.

    Each defendant stated a preference to continue being represented by Attorney Adamson.

            After hearing the statements of counsel, examining Defendants and informing Defendants

    of the risks that may flow from dual representation, the Court is satisfied that (1) Defendants

    knowingly, voluntarily and intelligently waived their rights to separate counsel and (2) that

    neither defendant can later credibly claim lack of knowledge, or misunderstanding, or prejudice

    (ineffective assistance of counsel) as a result of the joint representation.

            Based upon the information ascertained during the hearing on the matter of an actual or

    potential conflict of interest, the Court finds that there is good cause to believe that no conflict of

    interest currently interest exists or is likely to arise from the dual representation of Defendants

    Helfrick and Traylor by Attorney Adamson. The Court made known that all counsel should

    remain vigilant and notify the Court of any actual or potential conflict of interest arising from the


    2
       Attorney Adamson explained that, despite being charged as coconspirators in Count 4
of the Indictment, the Indictment did not allege that his clients engaged in joint activities and
he believed , based upon his conversations with his clients, that they had no joint interaction.
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 dual representation.



        IT IS SO ORDERED.


  July 14, 2011                          /s/ Benita Y. Pearson
 Date                                  Benita Y. Pearson
                                       United States District Judge
